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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,


                                                   19 Cr. 603-1 (KPF)
                  -v.-
                                                        ORDER
MUNIF AHMED,

                         Defendant.

KATHERINE POLK FAILLA, District Judge:

     It is hereby ORDERED that the following trial schedule will be in effect as

to Defendant Munif Ahmed:

           •     Trial will commence on April 19, 2021, at 9:00 a.m.;

           •     Any revised or supplemental jury charge requests, proposed

                 voir dire questions, and motions in limine will be due March

                 25, 2021;

           •     Any opposition papers to motions in limine will be due April

                 1, 2021; and

           •     The final pretrial conference will be scheduled for April 8,

                 2021, at 2:00 p.m. in Courtroom 618 of the Thurgood

                 Marshall Courthouse, 40 Foley Square, New York, New York.

     SO ORDERED.

Dated: January 12, 2021
       New York, New York

                                             KATHERINE POLK FAILLA
                                            United States District Judge
